Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 1of15
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
One Stop Fresh Deli, LLC

(b) County of Residence of First Listed Plaintiff

Philadelphia

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Hae Yeon Baik, Esq.

The Baik Law Firm, P.C.
1100 Vine Street, Unit C-8
Philadelphia, PA 19107

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS
United States

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attomeys (If Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IL. BASIS OF JURISDICTION (Place an “x” in One Box Only) IML. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[_]1 US. Government [_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Cl 1 O 1 Incorporated or Principal Place CL] 4 CO 4
of Business In This State
2 U.S. Government [_]4 Diversity Citizen of Another State []2 [] 2 Incorporated and Principal Place Lis (4s
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a [13 [] 3 Foreign Nation [] 6 (Je
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CT 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_|690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C] 367 Health Care/ 400 State Reapportionment
LJ 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CL] 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[] 160 Stockholders’ Suits 7 355 Motor Vehicle H 371 Truth in Lending Act 485 Telephone Consumer
[_] 190 Other Contract Product Liability | 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| _] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [| 865 RSI (405(g)) | 891 Agricultural Acts
|_| 210 Land Condemnation | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |] 893 Environmental Matters
[_] 220 Foreclosure 441 Voting |] 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment Hl 510 Motions to Vacate r | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [_] 530 General {_] 871 IRS—Third Party v] 899 Administrative Procedure
[_]290 All Other Real Property  [__] 445 Amer. w/Disabilities -[_] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -[_] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

[vy]! Original
EH Proceeding

VI. CAUSE OF ACTION

VII. REQUESTED IN

2 Removed from
State Court

3

7 U.S.C. 2023

Remanded from
Appellate Court

C]4 Reinstated or Ol 5 Transferred from
Another District

(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

Brief description of cause:

 

[| CHECK IF THIS IS A CLASS ACTION

DEMAND $

De Novo appeal of 12/23/2021 Final Agency Decision of USDA on SNAP violations

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: LlYes [MNo
VIII. RELATED CASE(S)
IF ANY (ee instruction)” TGR DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD,
ol [ ox / 20) >t Lf Wear TTR Y bn
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 2 of 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: One Stop Fresh Deli, LLC, 4832 Baltimore Avenue, Philadelphia, PA 19143

Addvess of Defendant: U.S. Dep't of Agriculture, Food & Nutrition Service, 620 SW Main St., Rm 403, Portland, OR 97205
Philadelphia, PA

 

Place of Accident, Incident or Transaction:

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [o] No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [o]
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [o]
numbered case pending or within one year previously terminated action of this court?

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [o]
case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

Must sign here PA ID: 71693

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

DATE:

 

 

CIVIL: (Place a V in one category only)

bs

Diversity Jurisdiction Cases:

>»

Federal Question Cases:

Insurance Contract and Other Contracts

 

LJ 1. Indemnity Contract, Marine Contract, and All Other Contracts 1
2. FELA 2. Airplane Personal Injury
3. Jones Act-Personal Injury 3. Assault, Defamation
4. Antitrust 4. Marine Personal Injury
LJ 5S. Patent 5. Motor Vehicle Personal Injury
[] 6. Labor-Management Relations 6. Other Personal Injury (Please specify):
7. Civil Rights 7. Products Liability
8. Habeas Corpus 8. Products Liability — Asbestos
9. Securities Act(s) Cases 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases
(Please specify): SNAP Administrative Appeal

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

HAE YEON BAIK, ESQ.

, counsel of record ov pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.
5 [ D
5 jt Ida Ler | Zeyh .
DATE: O | 6x eye Sign here if applicable PA ID: 71693
t Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 3 of 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ONE STOP FRESH DELI, LLC,

 

Plaintiff
CIVIL ACTION NO.:
v.
UNITED STATES,
Defendant
COMPLAINT

Plaintiff, ONE STOP FRESH DELI, LLC, by and through its undersigned
counsel, Hae Yeon Baik, Esquire, hereby files this Complaint against the Defendant, the
UNITED STATES, and in support thereof, avers the following:

INTRODUCTION

i. This matter involves the appeal of the December 13, 2021 Final Agency
Decision by the United States Department of Agriculture (USDA), Food and Nutrition
Services (FNS), in the administrative action One Stop Fresh Deli LLC v. Retailer
Operations Division, Case No. C0229884.

2. A true and correct copy of said Final Agency Decision, with cover letter,
is appended hereto as Exhibit “A” and is incorporated into the within Complaint.

3. The Final Agency Decision affirmed the Initial Decision of the Retailer
Operations Division and imposed a six-month period of disqualification of the Plaintiff-
business from participating as an authorized retailer in the Supplemental Nutrition

Assistance Program (“SNAP”).
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 4 of 15

4, Plaintiff hereby appeals the Final Agency Decision by way of the within

Complaint and requests a judicial review of same.
PARTIES

5. Plaintiff, ONE STOP FRESH DELI, LLC (hereinafter, “Plaintiff’), is a
limited liability company organized and existing under the laws of the Commonwealth of
Pennsylvania, with a registered principal place of business address of 4832 Baltimore
Avenue, Philadelphia, Philadelphia County, Pennsylvania 19143.

6. The owner of the Plaintiff-business is Chong Yeun Yu.

7. Defendant, the UNITED STATES, is a governmental entity named in this
action in accordance with the appeal instructions of the December 13, 2021 Final Agency
Decision, which cites 7 U.S.C. § 2023 and 7 C.F.R. § 279.7 as the authority to name this
party as a defendant.

JURISDICTION AND VENUE

8. This Court has jurisdiction over this action pursuant to Section 14 of the
Food and Nutrition Act of 2008, as amended (codified as 7 U.S.C. § 2023), and 7 C.F.R.
§ 279.7.

9, Venue in the United States District Court for the Eastern District of
Pennsylvania, located in Philadelphia, Pennsylvania, is proper pursuant to 7 U.S.C. §
2023(a)(13) and 7 C.F.R. § 279.7(a).

GENERAL ALLEGATIONS
10. _—_ All preceding paragraphs are incorporated herein by reference as if the

same were set forth at length fully herein.

2 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 5of15

11. Plaintiff, a convenience store, was initially authorized by the USDA Food
and Nutrition Service (hereinafter, “USDA”) to participate in SNAP on July 7, 2016.

12. As part of a compliance investigation, the USDA, through its Retailer
Operations Division, conducted four (4) visits at the Plaintiff-store during the period June
5, 2020 through June 12, 2020.

13. The resulting report from the USDA investigation identified SNAP
violations during each of the four visits. Specifically, the Retailer Operations Division
charged Plaintiff with having accepted SNAP benefits in exchange for products not
covered under SNAP, in violation of 7 C.F.R. § 278.2(a).

14. In response to the adverse investigation results, Plaintiff requested that
hardship civil money penalty pursuant to 7 C.F.R. § 278.6(f)(1), in lieu of an anticipated
suspension from participating in SNAP.

15. The basis for such request was the lack of SNAP-participating grocery
stores in the general area, and that many SNAP consumers would have to travel far by
foot — during the COVID-19 pandemic — in the event that Plaintiff would no longer be
able to participate in SNAP.

16. On April 20, 2021, the USDA rejected the request for a hardship civil
money penalty and instead disqualified Plaintiff from participating in SNAP for a period
of six (6) months, pursuant to 7 C.F.R. § 278.6(a).

17. On April 23, 2021, Plaintiff requested an administrative review of the

April 20" decision.

3 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 6 of 15

18. On December 23, 2021, the USDA issued its Final Agency Decision,
affirming the imposition of Plaintiff's six-month disqualification from SNAP and
affirmed the rejection of a civil money penalty in lieu of disqualification.

COUNT I
VACATION OF ADMINISTRATIVE DISQUALIFICATION FROM SNAP

19. All preceding paragraphs are incorporated herein by reference as if the
same were set forth at length fully herein.

20. At all times relevant prior to the December 23, 2021 Final Agency
Decision by the USDA (Case No. C0229884), Plaintiff was a participant in SNAP.

21. Prior to the USDA’s four investigative visits in 2020, Plaintiff did not
have a record of any SNAP violations or SNAP violation warnings.

22. The USDA’s investigative conclusion that Plaintiff engaged in accepting
SNAP in exchange for ineligible products — which formed the basis for the USDA’s Final
Agency Decision are unsupported, arbitrary, and/or capricious.

23. | Asaresult of these improper findings, the USDA’s erroneous Final
Agency Decision imposed a disqualification of Plaintiff from SNAP for a period of six
(6) months.

24. Inthe alternative, any investigative findings by the USDA within its Final
Agency Decision that were supported by competent evidence constituted a de minimis
violation and thus does not warrant the invocation of penalties under 7 C.F.R. § 278.6 as
a matter of law.

WHEREFORE, Plaintiff, ONE STOP FRESH DELI, LLC, respectfully requests

that this Honorable Court enter an Order:

4 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 7 of 15

A. Reversing the December 23, 2021 Final Agency Decision of the UDSA Food and
Nutrition Service;

B. Vacating the six-month disqualification of Plaintiff from participating the
Supplemental Nutrition Assistance Program (SNAP), and declaring that Plaintiff

may continue participation in SNAP without the need for re-application to the

program;
C. Attorney’s fees and costs of suit; and
D. For such other additional or alternative relief that this Court deems just and
proper.

COUNT II
IMPOSITION OF A CIVIL MONEY PENALTY IN LIEU OF
ADMINISTRATIVE DISQUALIFICATION FROM SNAP
25. All preceding paragraphs are incorporated herein by reference as if the
same were set forth at length fully herein.
26.  Plaintiff-business is located in an urban area of Philadelphia, Pennsylvania
where the area’s residents are predominantly working class and 40% senior citizens.
27. A significant portion of these individuals participate in SNAP.
28. A significant portion of these individuals do not have and/or cannot afford
regular transportation, resulting in walking as the only mode of transportation.
29. — Disqualifying Plaintiff from participating in SNAP endangers these
individuals (1) as a matter of health due to the ongoing COVID-19 pandemic at all times
relevant (and continuing); and (2) as a matter of public safety with remarkable crime on

the streets in the vicinity of Plaintiff-business.

5 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 8 of 15

30. Any grocery stores near Plaintiff that participate in SNAP are not
sufficiently “in the area” of Plaintiff, especially given the concerns set forth in the
previous Paragraph.

31. Any grocery stores near Plaintiff that participate in SNAP do not provide
the same staple foods at comparable prices. Moreover, the USDA failed to supply
evidence in its Final Agency Decision in support of the proposition that nearby grocery
stores sold staple foods at comparable prices.

32. The USDA’s failure to consider and/or appreciate these aforementioned
concerns was arbitrary and capricious in nature, and said failure resulted in the rejection

of a civil money penalty in lieu of disqualification from participating in SNAP, as

permitted under 7 C.F.R. § 278.6(f)(1).

WHEREFORE, Plaintiff, ONE STOP FRESH DELI, LLC, respectfully requests

that this Honorable Court enter an Order:

A. Reversing the December 23, 2021 Final Agency Decision of the UDSA Food and
Nutrition Service;

B. Vacating the six-month disqualification of Plaintiff from participating the
Supplemental Nutrition Assistance Program (SNAP), and declaring that Plaintiff

may continue participation in SNAP without the need for re-application to the

program;
Gr Attorney’s fees and costs of suit; and
D. For such other additional or alternative relief that this Court deems just and
proper.

6 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 9of15

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Date

Respectfully submitted,

J Mos Yrar Bork
Hae Yeon Baik, Esquire

THE BAIK LAW FIRM, P.C.

PA Attorney ID No. 71693

1100 Vine Street, Unit C-8
Philadelphia, PA 19107

PHONE: (215) 232-5000

FAX: (215) 232-3394

EMAIL:
haeyeon.baik(@baikandassociates.com

 

Attorney for Plaintiff,
One Stop Fresh Deli, LLC

7 of 7
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 10 of 15

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U.S. Department of Agriculture
Food and Nutrition Service
Administrative Review Branch

One Stop Fresh Deli LLC,

Appellant,
Case Number: C0229884

V.

Retailer Operations Division,
Respondent.

 

 

FINAL AGENCY DECISION

It is the decision of the U.S. Department of Agriculture (USDA), Food and Nutrition Service
(FNS), that there is sufficient evidence to support a six-month disqualification of One Stop
Fresh Deli LLC (hereinafter Appellant), from participation as an authorized retailer in the
Supplemental Nutrition Assistance Program (SNAP) as initially imposed by the Retailer

Operations Division.

ISSUE

The issue accepted for review is whether the Retailer Operations Division took appropriate
action, consistent with Title 7 Code of Federal Regulations (CFR) Part 278 in its administration
of the SNAP, when it imposed a six-month disqualification against Appellant.

AUTHORITY

7 U.S.C. § 2023 and the implementing regulations at 7 CFR § 279.1 provides that “[A] food
retailer or wholesale food concern aggrieved by administrative action under § 278.1, § 278.6 or
§ 278.7... may file a written request for review of the administrative action with FNS.”

CASE CHRONOLOGY

The USDA conducted an investigation of the compliance of One Stop Fresh Deli LLC, with
Federal SNAP law and regulations from June 5, 2020 through June 12, 2020. In a letter dated
November 6, 2020, Retailer Operations Division charged the Appellant firm with accepting
SNAP benefits in exchange for merchandise which included common ineligible non-food items
in violation of 7 CFR § 278.2(a). These SNAP violations occurred on four (4) out of four (4)
compliance visits. The letter further informed the Appellant that the violations warranted a
disqualification period of six months as provided in 7 CFR § 278.6(e)(5).
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 11 of 15

In a facsimile dated November 13, 2020 and correspondence dated November 12, 2020,
Appellant, through counsel, responded to the charge letter and requested that it be able to pay a
fine to have the violations removed without the store being suspended. In subsequent
correspondence dated November 19, 2020, Appellant, through counsel, also stated that being
barred from participating in the SNAP program will cause great hardship to the neighborhood.
Appellant gave a list of retailers and the distance they are from its store and again asked that a
fine be imposed against the store in lieu of disqualification.

After reviewing the evidence of the case and the Appellant’s response, through counsel,
Retailer Operations Division issued a determination letter dated April 20, 2021. The
determination letter informed the Appellant it was disqualified from the SNAP for a period of
six months in accordance with 7 CFR § 278.6(a) and (e). The determination letter also stated
that Retailer Operations Division considered Appellant’s eligibility for a hardship CMP under
7 CFR § 278.6(f)(1). Retailer Operations Division determined that the Appellant was not
eligible for the hardship CMP in lieu of the six-month disqualification because there were other
authorized retail stores in the area selling as large a variety of staple foods at comparable

prices.

In a letter dated April 23, 2021, Appellant, through counsel, requested an administrative review of
the Retailer Operations Division’s determination. The appeal was accepted, and the
implementation of the six-month disqualification was held in abeyance pending completion of

this review.

STANDARD OF REVIEW

In appeals of adverse actions, an appellant bears the burden of proving by a preponderance of the
evidence, that the administrative actions should be reversed. That means an appellant has the
burden of providing relevant evidence which a reasonable mind, considering the record as a
whole, would accept as sufficient to support a conclusion that the matter asserted is more likely

to be true than not true.

CONTROLLING LAW

The controlling statute in this matter is contained in the Food & Nutrition Act of 2008, as
amended, 7 U.S.C. § 2021, and promulgated through regulation under Title 7 CFR Part 278. In
particular, 7 CFR § 278.6(a) and (e) establish the authority upon which a period of
disqualification may be imposed against a retail food store or wholesale food concern.

7 CFR § 278.2(a) states, inter alia: “Coupons may be accepted by an authorized retail food store
only from eligible households.... Only in exchange for eligible food”

7 CFR § 271.2 states, inter alia: “Eligible food means: Any food or food product intended for
human consumption except alcoholic beverages, tobacco and hot food and hot food products

prepared for immediate consumption”
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 12 of 15

7 CFR § 278.6(a) states, inter alia: “FNS may disqualify any authorized retail food store... if
the firm fails to comply with the Food and Nutrition Act of 1977, as amended, or this part.
Such disqualification shall result from a finding of a violation on the basis of evidence that may

include facts established through on-site investigations...”

7 CFR § 278.6(e)(5) states, inter alia: “Disqualify the firm for 6 months if it is to be the first
sanction for the firm and the evidence shows that personnel of the firm have committed
violations such as, but not limited to, the sale of common nonfood items due to carelessness or

poor supervision by the firm’s ownership or management.”

7 CFR § 278.6(£)(1) states, inter alia: “FNS may impose a civil money penalty as a sanction in
lieu of when... the firm’s disqualification would cause hardship to Food Stamp [SNAP]
households because there is no other authorized retail food store in the area selling as large a

variety of staple food items at comparable prices.”
APPELLANT’S CONTENTIONS

The Appellant, through counsel, made the following summarized contentions in its request
for administrative review, in relevant part:

1. We respectfully request a review of the determination made by the USDA to disqualify
our client from the SNAP program for six months.

2. Our client’s store is located in a working class predominantly African American
neighborhood with about 40 percent of the population being senior citizens. Many of
these seniors do not have card, and therefore they must walk to buy their groceries.

3. Itis essential that there be grocery stores within a reasonable walking distance3 that

offer the SNAP program.

The preceding may represent only a brief summary of the Appellant’s contentions presented
in this matter. Please be assured, however, in reaching a decision, full attention was given to
all contentions presented, including any not specifically recapitulated or specifically

referenced herein.
ANALYSIS AND FINDINGS

FNS initially authorized One Stop Fresh Deli LLC as a convenience store on July 7, 2016.
During an investigation from June 5, 2020 through June 12, 2020, the USDA conducted four (4)
compliance visits at Appellant’s store. A report of the investigation was provided to the
Appellant as an attachment to the charge letter dated November 6, 2020. The investigation
report included Exhibits A through D, which provide full details on the results of each
compliance visit. The investigation report documents that SNAP violations were committed
during four (4) of the four (4) compliance visits. They involved the sale of one (1) 35 count
package of 10 ounce Everyday bowls, two (2) 2 count boxes of Reynolds oven bags turkey size,
one (1) 20 count package of 16 ounce Sunset brands red party cups, one (1) 51 piece package of
Daily Ware fiesta time forks, one (1) 80 count package of Vanity Fair everyday design
collection napkins, one (1) 80 count box of Glad Force Flex leak protection trash bags, one (1)

3
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 13 of 15

35 count container of Clorox disinfecting wipes crisp lemon, and one (1) 192 ounce jug of Xtra
Oxi Clean stain fighter detergent . The clerks refused the exchange of an undisclosed amount of

SNAP benefits for cash in Exhibit D.

With regard to Appellant’s contentions, through counsel, it is important to note that as owner of
the store, Appellant is liable for all volatile transactions handled by either paid or unpaid store
personnel. Regardless of whom the ownership of a store may utilize to handle store business,
ownership is accountable for the proper handling of SNAP benefit transactions. To allow store
ownership to disclaim accountability for the acts of persons whom the ownership chooses to
utilize to handle store business would render virtually meaningless the enforcement provisions
of the Food Stamp Act and the enforcement efforts of the USDA. Additionally, a record of
participation in SNAP with no previously documented instance of violations does not constitute
valid grounds for dismissal of the current charges of violations or for mitigating the impact of

those charges.

It is recognized that some degree of economic hardship is a likely consequence whenever a store
is disqualified from participation in SNAP. However, there is no provision in the SNAP
regulations for waiver or reduction of an administrative penalty assessment on the basis of
possible economic hardship to the firm resulting from imposition of such penalty. To allow
store ownership from being excused from assessed administrative penalties based on purported
economic hardship to the firm would render virtually meaningless the enforcement provisions
of the Food and Nutrition Act of 2008, as amended, and the enforcement efforts of the USDA.

Moreover, giving special consideration to economic hardship to the firm would forsake fairness
and equity, not only to competing stores and other participating retailers who are complying
fully with program regulations, but also to those retailers who have been disqualified from the
program in the past for similar violations. Therefore, Appellant’s contention that the firm may
incur economic hardship based on the assessment of an administrative penalty does not provide
any valid basis for dismissing the charges or for mitigating the penalty imposed.

Furthermore, it is important to clarify for the record that the purpose of this review is to
determine if the earlier decision of the Retailer Operations Division, to disqualify Appellant
from participation in the SNAP for a period of six months, was in fact a correct one. It is not
within the scope of this review to consider what subsequent actions Appellant may have taken

so that its store may begin to comply with program requirements.

It is important to note that a record of participation in SNAP with no previously documented
instance of violations does not constitute valid grounds for dismissal of the current charges of
violations or for mitigating the impact of those charges. There is no provision in the Act,
regulations, or agency policy that reverses or reduces a sanction based upon a lack of prior
violations by a firm and its owners, managers and/or employees.

Based on a review of the evidence in this case, there is no question that program violations did
occur. A Clerk working at Appellant sold common ineligible items to an FNS investigator on
four (4) separate investigative visits. The investigative record is specific and accurate with
regard to the dates of the violations, the exchange of SNAP benefits for ineligible items, and in
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 14 of 15

all other critically pertinent detail. As such, the contentions presented do not constitute valid
grounds for dismissal of the current charges of violations, or for mitigating the impact of those
charges. Based on a review of the evidence in this case, it appears that the SNAP violations at

issue did, occur as charged.

CIVIL MONEY PENALTY

Appellant, through counsel, requested that a CMP in lieu of disqualification. Retailer
Operations Division considered Appellant’s eligibility for a hardship CMP under 7 CFR
§278.6(f)(1). It must be noted that the SNAP regulations do not define hardship as
inconvenience or lack of “comparable accommodations,” but rather simply as the lack of an
“authorized retail food store in the area selling as large a variety of staple food items at

comparable prices.”

The Agency further clarifies the regulations by defining “in the area” to mean within a one-mile
radius in urban areas and within a three-mile driving distance in rural areas. Philadelphia,
Pennsylvania is designated by the U.S. Census Bureau as “urban.” Therefore, Retailer
Operations Division correctly determined that the Appellant was not eligible for the hardship
CMP in lieu of the six-month disqualification because there were at least 92 authorized retailers
within a one-mile radius of Appellant including at least 33 small grocery stores, six (6) medium
grocery stores, three (3) large grocery stores, six (6) supermarkets, two (2) superstores and a
number of additional convenience stores, and all are selling as large a variety of staple foods at

comparable prices.

CONCLUSION

The documentation presented by Retailer Operations Division provides through a
preponderance of the evidence that the violations as reported occurred at the Appellant firm.

7 CFR § 278.6(e)(5) specifies that FNS shall “disqualify the firm for six months if it is to be the
first sanction for the firm and the evidence shows that personnel of the firm have committed
violations such as, but not limited to, the sale of common nonfood items due to carelessness or

poor supervision by the firm’s ownership or management.

The violations were determined by Retailer Operations Division to represent the first sanction
for the firm and evidence carelessness and poor supervision. Therefore, the imposition of a six-
month disqualification, the least severe penalty allowed by regulation, is appropriate.

It is therefore established that the violations as described in the letter of charges did in fact
occur at the Appellant firm warranting a disqualification of six months in accordance with
7 CFR § 278.6(e)(5). Based on the discussion herein, the decision to impose a six-month
disqualification against One Stop Fresh Deli LLC is appropriate and the action is sustained.

In accordance with the Act and regulations, the six-month period of disqualification shall
become effective thirty (30) days after receipt of this letter. The Appellant may submit a new
application for SNAP participation ten (10) days prior to the expiration of the six-month

disqualification period.
Case 2:22-cv-00089-PD Document1 Filed 01/10/22 Page 15 of 15

RIGHTS AND REMEDIES

Your attention is called to Section 14 of the Food and Nutrition Act of 2008, as amended,

(7 U.S.C. § 2023) and to Title 7, Code of Federal Regulations, Part 279.7 (7 CFR § 279.7) with
respect to your right to a judicial review of this determination. Please note that if a judicial
review is desired, the Complaint, naming the United States as the defendant, must be filed in the
US. District Court for the district in which you reside or are engaged in business, or in any
court of record of the State having competent jurisdiction. If any Complaint is filed, it must be
filed within thirty (30) days of receipt of this Decision.

Under the Freedom of Information Act (FOIA), we are releasing this information in a redacted
format as appropriate. FNS will protect, to the extent provided by law, personal information
that could constitute an unwarranted invasion of privacy.

Monique Brooks December 13, 2021

ADMINISTRATIVE REVIEW OFFICER
